   Case 2:05-cv-04182-SRD-JCW Document 21310-2 Filed 09/28/15 Page 1 of 2




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

IN RE KATRINA CANAL BREACHES          *                   CIVIL ACTION 05-4182
CONSOLIDATED LITIGATION               *
                                      *
PERTAINS TO:                          *                   SECTION “K” (2)
                                      *
Allen et al v. State Farm Fire and    *                   Judge Stanwood R. Duval, Jr.
Casualty Company, Case Number 07-5111 *
Annie Rovaris                         *
*************************************

                                NOTICE OF SUBMISSION


       PLEASE TAKE NOTICE, that Plaintiff, through undersigned counsel, will bring on for

hearing the attached Motion on the 21st day of October, 2015 at 9:30 a.m. before the Honorable

Stanwood R. Duval, Jr.

                                                  Respectfully submitted:


                                                  /s/ Melissa DeBarbieris
                                                  JOSEPH M. BRUNO (# 3604)
                                                  MELISSA A. DEBARBIERIS (#32124)
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   Case 2:05-cv-04182-SRD-JCW Document 21310-2 Filed 09/28/15 Page 2 of 2




                                CERTIFICATE OF SERVICE

       I hereby certify that I have served a copy of the above and foregoing upon all counsel of

record by placing same in the United States mail, properly addressed and with first-class postage,

or by facsimile or other electronic transmission this 28th day of September, 2015.



                                                            /s/ Melissa DeBarbieris
                                                            Melissa DeBarbieris




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